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 7                          UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9                            HON. BARRY T. MOSKOWITZ
10   United States Of America,            CASE NO.: 20-MJ-20147-FAG-BTM
11                      Plaintiff,
                                          Appellant’s Reply Brief
12         v.
13   Daniel Facio-Servin,
14                      Defendant.
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20
21
22
23
24
25
26
27
28
 1                                                     TABLE OF CONTENTS

 2   TABLE OF AUTHORITIES                  .................................................................................................... ii
 3   INTRODUCTION ................................................................................................................. 1
 4   ARGUMENT ........................................................................................................................ 2
 5   I.        Mr. Facio-Servin’s due process rights were violated when he was subject
               to leg shackles and placement inside a plexiglass cage during his change
 6             of plea hearing, which rendered his guilty plea involuntary. ............................ 2
 7             A.        Mr. Facio-Servin did not waive his right to raise a due process
                         challenge to the shackles and plexiglass cage, because those
 8                       conditions rendered the guilty plea involuntary. .................................... 2
 9             B.        Mr. Facio-Servin’s rights were violated when he was subjected to
                         shackling and separated from his counsel by a plexiglass barrier,
10                       and the government cannot show that the error was harmless
                         beyond a reasonable doubt. ...................................................................... 3
11
                         1.         The prohibition against indiscriminate shackling is not
12                                  limited to proceedings before a jury. ........................................... 3
13                       2.         Bell v. Wolfish does not provide the proper framework for
                                    evaluating the constitutionality of in-court conditions. ............. 5
14
                         3.         The due process violation was not harmless. ............................. 6
15
     II.       Mr. Facio-Servin preserves his equal protection challenge to the illegal
16             entry statute under Arlington Heights. ................................................................... 7
17   III.      Mr. Facio-Servin preserves his argument that the magistrate judge failed
               to properly advise him of the elements of the offense, in violation of both
18             basic principles of attempt law and Rehaif. ....................................................... 7
19   CONCLUSION ...................................................................................................................... 7
20
21
22
23
24
25
26
27
28
                                                                          i
 1   Table of Authorities
 2
     Federal Cases                                                                                                           Page(s)
 3
     Arlington Heights v. Metropolitan Housing Development Corp.,
 4     429 U.S. 252 (1977) ....................................................................................................... 1
 5   Bell v. Wolfish,
 6      441 U.S. 520 (1979) ....................................................................................................... 5
 7   Chapman v. California,
       386 U.S. 18 (1967) ......................................................................................................... 6
 8
     Deck v. Missouri,
 9
       544 U.S. 622 (2005) ................................................................................... 2-3, 3, 4, 5, 6
10
     Rehaif v. United States,
11      139 S. Ct. 2191 (2019) ................................................................................................... 1
12   Riggins v. Nevada,
13      504 U.S. 127 (1992) ....................................................................................................... 6

14   Roe v. Anderson,
        134 F.3d 1400 (9th Cir. 1998) ...................................................................................... 4
15
     Tollet v. Henderson,
16      411 U.S. 258 (1973) ................................................................................................... 2, 3
17
     United States v. Broce,
18     488 U.S. 563 (1989) ....................................................................................................... 2
19   United States v. Chavez-Diaz,
       949 F.3d 1202 (9th Cir. 2020) .................................................................................. 1, 3
20
21   United States v. Sanchez-Gomez,
       859 F.3d 649 (9th Cir. 2017) (en banc) ............................................................... 4, 5, 6
22
23   Federal Statutes
     8 U.S.C. § 1325 ................................................................................................................ 1, 7
24
     8 U.S.C. § 1326 .................................................................................................................... 7
25
     Other
26
     Trial of Christopher Layer,
27
     16 How. St. Tr. 94 ...................................................................................................... 3-4
28

                                                                       ii
 1                                       INTRODUCTION
 2          In his opening brief, Mr. Facio-Servin challenged the validity of his
 3   misdemeanor illegal entry conviction, in violation of 8 U.S.C. § 1325, for three reasons.
 4   First, at his guilty plea hearing Mr. Facio-Servin was forced to appear before the
 5   magistrate court wearing leg shackles and was physically separated from his defense
 6   counsel by a plexiglass cage, which violated his due process rights and rendered his
 7   plea unknowing and involuntary. Second, Mr. Facio-Servin’s prosecution for illegal
 8   entry violated equal protection under Arlington Heights v. Metropolitan Housing Development
 9   Corp., 429 U.S. 252, 266 (1977). Finally, Mr. Facio-Servin argued, in order to preserve
10   for further review, that the magistrate judge improperly advised him as to the elements
11   of the charged offense when he incorrectly omitted the element that Mr. Facio-Servin
12   knew that he was not a United States citizen, as required by both the general law of
13   attempt charges and the Supreme Court’s decision in Rehaif v. United States, 139 S. Ct.
14   2191 (2019).
15          In its answering brief, the government contends first that Mr. Facio-Servin
16   waived his right to raise a challenge to the shackles and plexiglass cage when he pleaded
17   guilty, and that in any event there was no violation of his due process rights. The
18   government then argues that § 1325 does not violate equal protection. Finally, the
19   government notes, as Mr. Facio-Servin acknowledged in his opening brief, that the
20   Ninth Circuit has rejected the argument that knowledge of alienage is an element of
21   the offense for illegal entry.
22          This Court should nonetheless vacate Mr. Facio-Servin’s conviction. Mr. Facio-
23   Servin’s due process challenge to the shackles and plexiglass barrier is preserved
24   because it goes to the question of the voluntariness of his guilty plea. It thus is not
25   barred by the Ninth Circuit’s decision in United States v. Chavez-Diaz, 949 F.3d 1202,
26   1207 (9th Cir. 2020). And, on the merits of the claim, the magistrate judge failed to
27   make any finding that Mr. Facio-Servin posed a risk of flight or danger. Even so, Mr.
28   Facio-Servin was forced to appear for his guilty plea in shackles and separated from

                                                 1
 1   his attorney by a plexiglass barrier, restrictions that were inherently prejudicial and
 2   which the government cannot show were harmless beyond a reasonable doubt.
 3                                        ARGUMENT
 4   I.    Mr. Facio-Servin’s due process rights were violated when he was subject
           to leg shackles and placement inside a plexiglass cage during his change
 5         of plea hearing, which rendered his guilty plea involuntary.
 6         In its answering brief, the government first contends that Mr. Facio-Servin has
 7   waived any right to raise a due process challenge to the courtroom conditions at the
 8   time of his guilty plea and that, in any event, there was no due process violation. See
 9   AAB at 4-10.1 Both arguments fail, and this Court must vacate Mr. Facio-Servin’s plea.
10         A.     Mr. Facio-Servin did not waive his right to raise a due process
                  challenge to the shackles and plexiglass cage, because those
11                conditions rendered the guilty plea involuntary.
12         Mr. Facio-Servin preserved his right to appeal the courtroom conditions at the
13   time of his guilty plea, and the government’s contention to the contrary is unavailing.
14   As the government correctly notes, absent a conditional plea Mr. Facio-Servin is
15   limited to challenging either the validity of the guilty plea itself or the government’s
16   power to hale him into court at all. See AAB at 5 (citing Tollet v. Henderson, 411 U.S.
17   258, 267 (1973); United States v. Broce, 488 U.S. 563, 575 (1989)). The government then
18   contends that because Mr. Facio-Servin did not raise either type of challenge, this
19   Court should dismiss the claim. Id. But this misapprehends Mr. Facio-Servin’s
20   argument.
21         In his opening brief, Mr. Facio-Servin began his due process claim by noting
22   that a guilty plea involves waiver of fundamental constitutional rights, and that a plea
23   is void where it is not voluntarily and knowingly made. See AOB at 4. He then outlined
24   the ways in which the magistrate judge violated his due process rights when it refused
25   to remove Mr. Facio-Servin’s shackles or to allow him to come out from behind the
26   plexiglass cage that separated his from his counsel. AOB at 4-7. Finally, he cited Deck
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      “AAB” refers to the government’s answering brief. “AOB” refers to Mr. Facio-
     Servin’s opening brief.
                                          2                 20-MJ-20147-FAG-BTM
                                    APPELLANT’S REPLY BRIEF
 1   v. Missouri, 544 U.S. 622, 635 (2005) for the proposition that a “defendant need not
 2   demonstrate actual prejudice to make out a due process violation.” See AOB at 7.
 3          Mr. Facio-Servin’s argument survives the government’s attempt to dismiss it. It
 4   is true that, as a general matter, guilty pleas extinguish claims except those preserved
 5   by mutual agreement between the parties. See, e.g., Chavez-Diaz, 949 F.3d at 1206. But
 6   Mr. Facio-Servin’s due process challenge falls within the scope of exceptions to this
 7   rule carved out by the Supreme Court’s precedent, because it is attacking “the
 8   voluntary and intelligent character of the guilty plea” itself. See Tollet, 411 U.S. at 267.
 9   Thus, the due process violation at issue is not an “antecedent legal error.” See Chavez-
10   Diaz. at 1206. Instead, it was contemporaneous with the plea itself and perforce
11   rendered it unknowing and involuntary. For this reason, this Court should reject the
12   government’s request to dismiss Mr. Facio-Servin’s due process challenge.
13          B.     Mr. Facio-Servin’s rights were violated when he was subjected to
                   shackling and separated from his counsel by a plexiglass barrier,
14                 and the government cannot show that the error was harmless
                   beyond a reasonable doubt.
15
16          The government’s substantive response to Mr. Facio-Servin’s being shackled in
17   a plexiglass cage during his guilty plea is similarly misguided. The government makes
18   three arguments in support of its position. The Court should reject each one.
19                 1.     The prohibition against indiscriminate shackling is not limited to
                          proceedings before a jury.
20
21          To begin, the government contends that the Supreme Court’s decision in Deck
22   “made it clear that the common law rule against shackling did not apply to proceedings
23   before a judge.” AAB at 7. In support of this proposition, the government cites
24   approvingly to that portion of Deck where the Court explained that “Blackstone and
25   other English authorities recognized that the rule did not apply ‘at the time of
26   arraignment,’ or like proceedings before the judge. . . . It was meant to protect
27   defendants appearing at trial before a jury.” Deck, 544 U.S. at 626 (citing to 4 W.
28   Blackstone, Commentaries on the Laws of England 317 (1769); Trial of Christopher
                                                  3                     20-MJ-20147-FAG-BTM
                                     APPELLANT’S REPLY BRIEF
 1   Layer, 16 How. St. Tr. 94, 99 (K.B.1722)). But there are at least two reasons why the
 2   government’s argument is not well taken.
 3          The first of these is the one cited by the majority in United States v. Sanchez-Gomez,
 4   859 F.3d 649 (9th Cir. 2017) (en banc), vacated as moot, 138 S. Ct. 1532 (2018). 2 There,
 5   the lead opinion explained that the reference to Blackstone in Deck is merely dictum,
 6   and that “it’s contradicted by the very sources on which the Supreme Court relied.”
 7   See 859 F.3d at 663. Contrary to the Deck Court’s analysis, “[s]hackles at arraignment
 8   and pretrial proceedings are acceptable only in situations of escape or danger.” Id. The
 9   difference between arraignment and trial is not that shackles are permitted at one and
10   not the other, but that they are more easily justified at the former than the latter. See
11   id. In sum, the historical record suggests that shackling outside the presence of a jury
12   was not a standard practice, and that it was done only after a showing of demonstrated
13   need. See id.
14          And the Court’s reasoning in Deck itself provides ample rebuttal to the
15   government’s position. Although Deck involved capital sentencing proceedings before
16   a jury, the reasoning undergirding the Court’s holding supports a broader application
17   of the rule prohibiting routine shackling, to include all in-court appearances. The Court
18   made clear that, while the limitation on the use of shackles has “deep roots in the
19   common law,” the bases for the “judicial hostility” to the practice have evolved over
20   time. Deck, 544 U.S. at 626, 630. Thus, where opposition was once grounded primarily
21   in concerns over the physical suffering caused by chains and manacles, the Court’s
22   more recent opinions have instead “emphasized the importance of giving effect to
23   three fundamental legal principles.” Id. at 630. And those principles support Mr. Facio-
24   Servin’s argument.
25
26   2
       As Mr. Facio-Servin noted in his AOB, though Sanchez-Gomez was vacated as moot,
27   it remains persuasive authority for this Court. See Roe v. Anderson, 134 F.3d 1400, 1404
     (9th Cir. 1998) (when the Supreme Court vacates an appellate decision “as unripe,”
28   the decision “remain[s] viable as persuasive authority, notwithstanding the Supreme
     Court’s vacatur”).
                                                 4                    20-MJ-20147-FAG-BTM
                                      APPELLANT’S REPLY BRIEF
 1          The principles in question are (1) the presumption of innocence, (2) the right
 2   to counsel, and (3) the dignity and decorum of the courtroom. See Deck, 544 U.S. at
 3   630-31. Together, they require limiting the use of shackles in the courtroom, in any
 4   context, absent a showing of need. “Visible shackling undermines the presumption of
 5   innocence and the related fairness of the factfinding process.” Id. at 630. And “[a]
 6   presumptively innocent defendant has the right to be treated with respect and dignity
 7   in a public courtroom, not like a bear on a chain.” Sanchez-Gomez, 859 F.3d at 661.
 8   Maintaining that dignity is important, both for the defendant, whose freedom is at
 9   stake, and for the members of the public: “the courtroom’s formal dignity . . . reflects
10   the importance of the matter at issue, guilt or innocence, and the gravity with which
11   Americans consider any deprivation of an individual’s liberty through criminal
12   punishment.” Deck, 544 U.S. at 631. That very important right of individual liberty is
13   further protected by the right to counsel, a right that is itself diminished by the use of
14   physical restraints. See id.
15          These three fundamental legal principles prohibit the use of shackles absent an
16   individualized finding that they are (1) required to address a specific need and (2) the
17   least restrictive means of accomplishing that end. See Sanchez-Gomez, 859 F.3d at 661.
18   Because the magistrate judge refused to either make such a finding or remove the
19   shackles and plexiglass barrier, Mr. Facio-Servin’s due process rights were violated,
20   and his plea was rendered unknowing and involuntary.
21                  2.     Bell v. Wolfish does not provide the proper framework for
                           evaluating the constitutionality of in-court conditions.
22
23          The government suggests that Bell v. Wolfish, 441 U.S. 520 (1979) already has
24   established “the standard for evaluating the constitutionality of pre-trial conditions,”
25   and that Mr. Facio-Servin’s restraints were reasonably related to a legitimate
26   government objective. AAB at 8-9. But the government’s reliance on Bell is misplaced.
27   The questions presented in that case simply are of no moment in this one. There,
28   inmates challenged a host of conditions, including the use of shackles, during their
                                                 5                    20-MJ-20147-FAG-BTM
                                     APPELLANT’S REPLY BRIEF
 1   period of pretrial confinement. The case had nothing whatsoever to do with in-court
 2   conditions. As the majority in Sanchez-Gomez noted, while Bell reaffirmed the judiciary’s
 3   tradition of deference to correctional or law enforcement officers in the management
 4   of the security of their own facilities, there is no such tradition “as to the treatment of
 5   individuals appearing in public courtrooms.” 859 F.3d at 665. The question here is not
 6   whether or not Mr. Facio-Servin was being punished through the use of shackles. See
 7   AAB at 8-9. Instead, the question is whether the bundle of due process rights to which
 8   he is entitled in a courtroom were impermissibly infringed to a degree that undermined
 9   his guilty plea. And the answer to that question is yes.
10                 3.     The due process violation was not harmless.
11          The Court explained in Deck that shackling is “inherently prejudicial.” 544 U.S.
12   at 635. That assessment was based on the Court’s “belief that the practice will often
13   have negative effects, but . . . those effects ‘cannot be shown from a trial transcript.’”
14   Id. (quoting Riggins v. Nevada, 504 U.S. 127, 137 (1992)). Accordingly, where a court
15   shackles a defendant without making the requisite findings to justify that decision, “the
16   defendant need not demonstrate actual prejudice.” Id. Instead, it falls to the
17   government to “prove ‘beyond a reasonable doubt that the [shackling] error did not
18   contribute to the verdict obtained.’” Id., (quoting Chapman v. California, 386 U.S. 18, 24
19   (1967)) (alteration in original). Here, the government cannot carry this burden.
20          The government’s argument that any error was rendered harmless by Mr. Facio-
21   Servin’s “guilty plea validly entered pursuant to Rule 11 in front of a judge,” AAB at
22   10, is mere question begging. The government’s position hinges on its assertion that
23   Mr. Facio-Servin “does not argue that the alleged due process violation affected his
24   decision to plead guilty.” Id. But, as discussed above, this is incorrect. Indeed, it is
25   exactly Mr. Facio-Servin’s position that the due process violation rendered his guilty
26   plea unintelligent and involuntary and thus invalid. Because the government cannot
27   show that the error was harmless, this Court should vacate Mr. Facio-Servin’s
28   conviction.
                                                  6                    20-MJ-20147-FAG-BTM
                                     APPELLANT’S REPLY BRIEF
 1   II.    Mr. Facio-Servin preserves his equal protection challenge to the illegal
            entry statute under Arlington Heights .
 2
 3          In his opening brief, Mr. Facio-Servin noted that the Ninth Circuit is currently
 4   considering an equal protection challenge to the offense of illegal reentry under 8
 5   U.S.C. § 1326 in two cases pending before it. See AOB at 8. Because §§ 1325 and 1326
 6   share the same historical background, the outcome of those cases may control the
 7   outcome here. Mr. Facio-Servin therefore wishes to preserve this issue in order that
 8   he may avail herself of any change in the legal landscape while this appeal is still
 9   pending.
10   III.    Mr. Facio-Servin preserves his argument that the magistrate judge failed
            to properly advise him of the elements of the offense, in violation of both
11          basic principles of attempt law and Rehaif.
12          In his opening brief, Mr. Facio-Servin acknowledged that the Ninth Circuit has
13   previously rejected his argument regarding the elements of the offense. See AOB at 8
14   n.2. While he recognizes that this Court is not free to rule to the contrary, Mr. Facio-
15   Servin wishes to preserve this argument in the event that either the Ninth Circuit or
16   Supreme Court revisit the issue while this appeal is still pending.
17                                        CONCLUSION
18          For these reasons, this Court should vacate Mr. Facio-Servin’s conviction.
19                                           Respectfully submitted,
20
21    Dated: April 10, 2023                  s/ Paul A. Barr
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                                                 7                     20-MJ-20147-FAG-BTM
                                    APPELLANT’S REPLY BRIEF
